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 1   DAVID A. TORRES AND ASSOCIATES
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 5
     Attorney for:
 6   BERNABE MADRIGAL-CASTANEDA
 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                        Case No. 1:19-CR-00015 DAD-BAM
11                       Plaintiff,
12           v.                                        STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING
13    BERNABE MADRIGAL-CASTANEDA,
14                       Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.
17   DROZD AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, BERNABE MADRIGAL-CASTANEDA, by and through his

19   attorney of record, DAVID A. TORRES hereby requesting that the sentencing hearing currently

20   set for Monday, June 24, 2019, be continued to Monday, August 12, 2019.

21          This is a stipulation to continue the sentencing in the above-captioned matter to allow

22   USPO Megan Pasqual sufficient time to complete the PSR.

23          Shortly after Mr. Madrigal-Castaneda entered his plea, our office attempted to schedule

24   his probation interview. However, I was assigned a trial court in a second degree murder and was

25   engaged in jury trial for nearly three weeks. After the trial, Ms. Pasqual and I scheduled an

26   interview within the necessary time to complete the PSR and proceed to sentencing on the set

27   date. Unfortunately, Mr. Madrigal contracted shingles while housed at the Lerdo jail facility and

28   remained in the jail infirmary for two weeks. Mr. Madrigal is now out of the infirmary and an
                                                       1
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 1   interview date has been rescheduled. I have spoken to AUSA Karen Escobar and she has no

 2   objection to continuing the sentencing hearing. Time is to be excluded under the Speedy Trial Act

 3   in that good cause exists and that the ends of justice outweighs the interest of the public and the

 4   defendant in a speedy trial.

 5          Based upon the foregoing stipulation, counsel requests that the sentencing be continued to

 6   August 5, 2019 and the Presentence Investigation Referral/Schedule be as follows:

 7          [Draft] Report Available to Defense Counsel and AUSA                  July 1, 2019

 8          Informal Objections Due to Probation and Opposing Counsel             July 15, 2019

 9          [Final] Report filed with Court and Disclosed to Counsel              July 22, 2019

10          Formal Objections Filed with Court and Served on

11                  Probation and Opposing Counsel                                July 29, 2019

12          Reply, or Statement of Non-Opposition                                 August 5, 2019

13          Judgement and Sentencing Date                                         August 12, 2019

14
            IT IS SO STIPULATED.
15                                                                 Respectfully Submitted,
     DATED: May 9, 2019                                            /s/ David A Torres       ___
16                                                                 DAVID A. TORRES
                                                                   Attorney for Defendant
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                                                                   Bernabe Madrigal-Castaneda
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19
     DATED: May 9, 2019                                            /s/Karen Escobar____________
20                                                                 KAREN ESCOBAR
21                                                                 Assistant U.S. Attorney

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 1                                            ORDER
 2
            IT IS HEREBY ORDERED that the sentencing currently set for June 24, 2019, before
 3
     the Honorable Judge Dale A. Drozd is hereby continued to August 12, 2019.
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 5   IT IS SO ORDERED.

 6      Dated:    May 9, 2019
                                                    UNITED STATES DISTRICT JUDGE
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